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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

 APPLE INC.,                             )
                                         )
                   Petitioner,           )
                                         )
           v.                            )   Case No. 24-mc-330 (CFC)
                                         )
 OMNI BRIDGEWAY (USA) LLC,               )
                                         )
                   Respondent.           )



                RESPONDENT OMNI BRIDGEWAY’S
            REPLY IN SUPPORT OF MOTION TO TRANSFER



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 August 2, 2024
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                                 INTRODUCTION

       Apple’s arguments on opposition change neither the standard the Court should

 apply to Omni’s Motion to Transfer, nor the facts Omni set forth regarding the

 underlying Litigation. Accordingly, the Court should transfer the motion to compel

 proceedings to the Northern District of California.

                                    ARGUMENT

 I.     Apple Concedes That Exceptional Circumstances are Not Required for
        Transfer

       Contrary to Apple’s Opposition, Omni does not suggest that transfer is

 “automatic” upon consent, but rather argues that it has carried its burden to show

 transfer is appropriate under Federal Rule of Civil Procedure 45(f), which allows a

 court to transfer a motion “to the issuing court if the person subject to the subpoena

 consents” or if there are “exceptional circumstances.” See Fed. R. Civ. P. 45.1

       Indeed, Apple concedes on opposition what it would not during meet and

 confer—Omni consents to transfer and thus “is not required to demonstrate

 ‘exceptional circumstances’” to transfer the case. See Opp. at 3; cf. In re Daimler,

 2023 WL 2456069, at *2 (finding exceptional circumstances “not required”).


 1
  Apple makes much of the Committee Notes to Fed. R. Civ. P. 45, see Opp. at 2-3,
 but cannot refute what Daimler acknowledges: “[i]n new Rule 45(f)” the “consent
 of the person subject to the subpoena is sufficient to permit transfer to the issuing
 court.” In re Daimler Truck North America, LLC, No. 23-90, 2023 WL 2456069, at
 *1 (D. Del. March 10, 2023) (quoting Fed. R. Civ. P. 45, Committee Notes on Rules
 (2013)).

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 II.    Daimler is Closely Analogous to Our Facts and Supports Transfer Here

       Apple attempts to distinguish Daimler’s corollary finding that exceptional

 circumstances are “not required” as “consent is sufficient to warrant transfer,” but

 Daimler is on all fours with the facts here. In re Daimler, 2023 WL 2456069, at *2.

 In Daimler, the subpoenaing party sought, just as Apple does, “further information”

 regarding the plaintiff’s “litigation financing arrangement,” arguing, as Apple does,

 “that the discovery sought is relevant to multiple issues in the Patent Case such as

 damages, standing, identification of the real party in interest, the credibility of EPS’s

 witnesses, and EPS’s potential ‘David v. Goliath’ trial theme.” In re Daimler, 2023

 WL 2456069, at *1. The Daimler subpoenaing party opposed transfer on the same

 bases Apple does—“that ‘[LUSC 22-B] is a Delaware entity that has chosen to avail

 itself of Delaware law’” and “transfer is discretionary notwithstanding LUSC 22-

 B’s consent.” Id.

       The Daimler court nevertheless transferred the case with just seven days left

 in discovery in the underlying case on three grounds, finding (i) “transfer would

 avoid interference with the time sensitive discovery schedule in the Patent Case”;

 (ii) the trial court “may have to rule on similar discovery issues between [the parties],

 and it is preferable to avoid the risk of inconsistent rulings”; and (iii) “the issuing

 court has greater involvement and more familiarity with the underlying patent

 litigation such that transfer back to that court promotes judicial economy.” In re



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 Daimler, 2023 WL 2456069, at *1. These grounds apply with equal force here, and

 militate toward transfer.

 III.   The Cases Apple Cites are Inapposite and Fail to Rebut Daimler

        Apple’s caselaw fails to support its position; their facts bear little to no

 resemblance to this case, and their findings do not rebut the holdings in Daimler.

 For example, Apple repeatedly cites In re I.M. Wilson to advocate that the Court

 decline to transfer here even with “consent by the subpoenaed party,” but Apple

 fundamentally misunderstands the facts of In re I.M. Wilson. The subpoenaed party

 there did not consent to transfer; in fact, the opinion explicitly states that

 “Respondent subpoenaed ‘Nikolay Grishko, LLC’” and “Nikolay has refused to

 consent to transfer.” In re I.M. Wilson, Inc., No. 21-122, 2022 WL 1239905, at *1-

 2 (D. Del. Apr. 27, 2022).

        Apple also cites WSOU Invs., LLC v. Salesforce, Inc., No. 23-23, 2023 WL

 8556305 (D. Nev. Dec. 11, 2023), but the case is not binding precedent for this

 Court, and what little the District Court of Nevada states of the facts underpinning

 the WSOU court’s rationale is clearly distinguishable given the decision also

 sanctions the parties for their conduct. Apple also fails to disclose the more relevant

 finding discussed in WSOU—the decision from this Court ultimately transferring

 Salesforce’s motion to compel compliance with a related subpoena from the District




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 of Delaware to the trial court in the Western District of Texas where the subpoenaed

 party consented to transfer. See In re Salesforce, Inc., No. 23-27-CFC, D.I. 40.

 IV.    The Relevance of This Discovery is a Live Issue Before the Trial Court

       Apple also contends that the Court should exercise its discretion and deny

 transfer here based on the facts, arguing that the discovery it seeks from non-party

 Omni is not pending before the trial court and there is thus no risk of inconsistent

 decisions. This is not correct.

       Apple itself informed the trial court in a Joint Case Management Statement

 filed one week before its Opposition that the relevance of this subject matter is

 pending in the Litigation before the Northern District of California.           Ex. D

 (Litigation, D.I. 145) at 7.2 Apple represented to the court in the Litigation, just as

 it argued to this Court in its motion to compel, that “[c]ourts have recognized the

 relevance of these materials especially in patent cases and ordered their production,”

 arguing that “district courts in California generally find discovery into third party

 investors relevant in patent litigation.” Id. at 20:3-15 & D.I. 2 [MTC] at 11. Apple

 cannot deny that these matters are pending before the trial court.

       And, Apple provides no authority for its assertion that complete identity

 between the discovery it seeks from non-party Omni and the discovery it seeks from


 2
   Apple’s discussion of the plaintiff’s subpoenas in other forums regarding other
 subject matter, see Opp. at 8 & D.I. 20-2, is immaterial to resolution of the specific
 subject matter of Apple’s subpoena to Omni, which is live before the trial court.

                                           4
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 the party would be required for this Court to transfer the proceedings, nor can it. A

 finding by the trial court that “discovery into third party investors” is not relevant to

 the Litigation would bear directly upon the discovery Apple seeks from non-party

 Omni.

         As is evident from the Joint Case Management Statement, the posture of the

 discovery disputes in the Litigation is complex, and the trial court remains best

 situated to avoid inconsistent rulings and resolve the related party and non-party

 disputes about this subject matter. See Mot. at 3; see also D.I. 18; see In re Daimler,

 2023 WL 2456069, at *1.

 V.      Transfer of the Fully Briefed Motion Would Not Cause Delay

         Finally, Apple argues that transfer would prejudicially delay resolution of its

 motion to compel, but Apple cannot have it both ways: it claims on the one hand

 that “there is no danger of disrupting the issuing court’s management of the

 underlying litigation” as “[s]everal months remain in fact discovery”; yet, argues on

 the other hand that Apple cannot wait for a ruling from the trial court as time in

 discovery is so short that transfer will “inject unnecessary delay in the proceedings

 that could disrupt the October 7 close of fact discovery.” Compare Opp. at 6 with

 Opp. at 6. The facts speak for themselves: Apple’s motion to compel is now fully

 briefed, the close of fact discovery in the underlying litigation is months away, and

 each and every party discovery dispute remains pending before the trial court. See



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 D.I. 22, D.I. 18 at 3, 4. Apple cannot credibly contend that transfer of its fully briefed

 motion to compel would disrupt the schedule in the underlying Litigation. Cf. In re

 Daimler, 2023 WL 2456069, at *1 (transferring the case seven days before the close

 of fact discovery).

       Furthermore, as Omni explained in its Motion, Omni first asked Apple to

 stipulate to transfer months ago. Mot. at 4. Apple’s radio silence persisted for two

 months before Apple filed its motion to compel. Id. To the extent the briefing on

 Apple’s motion to compel and Omni’s motion to transfer occurred later in time than

 Apple apparently preferred, Apple is the architect of its own misery.

       These circumstances also distinguish the facts here from those Apple points

 to in Markman Biologics. Opp. at 5-6 (contending the Markman Biologics court

 “viewed the motion to transfer as a delay tactic”) (citing SEC v. Markman Biologics

 Corp., No. 23-432, 2023 U.S. Dist. LEXIS 226968, at *4-5 (S.D.N.Y.). The decision

 in Markman Biologics was responsive to the subpoenaed party’s refusal to respond

 not only to the subpoena, but also to the Court’s subsequent order to show cause.

 “Respondents were served with the Subpoenas in early October, did not object, were

 warned by Movants’ counsel that their continued silence would result in motion

 practice, and failed timely to respond to the Court’s order—a history of delinquency

 which Respondents do not contest.” Markman Biologic, 2023 U.S. Dist. LEXIS

 226968, at *4-5. By stark contrast, Omni diligently responded to the subpoena, to



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 meet and confer requests, and to Apple’s motion to compel; there is no history of

 delinquency here other than Apple’s.

                                  CONCLUSION

       In light of the foregoing, Omni respectfully requests that the Court grant its

 Motion to Transfer.

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                     CERTIFICATION OF COMPLIANCE

       Pursuant to the Court’s November 10, 2022 Standing Order Regarding

 Briefing in All Cases, Respondent Omni Bridgeway (USA), LLC hereby certifies

 that Respondent’s Motion to Transfer complies with the word count, type and font

 requirements as follows: (1) the font used in Respondent’s motion and all associated

 documents is Times New Roman, 14 point; and (2) the word count for such motion

 is 1,537, whereas the maximum amount of words allowable per Local Rule 7.1.3 and

 the November 22, 2022 Standing Order is 2500 words.


                                              /s/ Brian P. Egan

                                              Brian P. Egan (#6227)
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                            CERTIFICATE OF SERVICE

       I hereby certify that on August 2, 2024, I caused the foregoing to be

 electronically filed with the Clerk of the Court using CM/ECF, which will send

 notification of such filing to all registered participants.

       I further certify that I caused copies of the foregoing document to be served

 on August 2, 2024, upon the following in the manner indicated:

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